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FORM 104 (10/06)

         ADVERSARY PROCEEDING COVER SHEET                                                                      ADVERSARY PROCEEDING NUMBER
            ';;.,;=;,       (Instructions on Reverse)                       . .                                (Court Use Only)
PLAINTIFFS                                                                          DEFENDANTS


JOHN L. WYNNE                                                                       KAREN FOSTER




ATTORNEYS (Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)

Gary M. Bowman, Esq., 2728 Colonial Avenue, Sle. 100, Roanoke, VA 24015


PARTY (Check One Box Only)                                                           PARTY (Check One Box Only)
[^Debtor    [ 1 U.S. Trustee/Bankruptcy Admin                                        LjDebtor   [~1 U.S. Trustee/Bankruptcy Admin
DCreditor            [x] Other                                                       D Creditor             D Other
LUTrustee                                         1—1 Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSB OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)


 Unlawful Detainer


                                                                        NATURE OF SUIT
                 (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) - Recovery of Money/Property                                            FRBP 7001(6) - Dischargeabilily (continued)
   1 11 -Recovery of money /property - §542 turnover of property
                                                                                             61-Dischargeability - §523(a)(5), domestic support
   | 12-Recovery t)f money/property - (J547 preference                                       68-Dischargeahility - §523(a)(6), willful and malicious injury

     13-Recovery of money/property - §548 fraudulent transfer                        |    | 63-Dischargeability - §523(a)(8), student loan
     14-Kecovcry of money/property - other                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation (other
                                                                                              than domestic support)
FRBP 7001(2) - Validity, Priority or Extent of Lien
                                                                                             65-Dischargeability - other
    21 -Validity, priority or extent of hen or other interest in property
                                                                                     FRBP 7001(7) - Injunctive Relief
FRBP 7001(3) - Approval of Sale of Property
                                                                                     |    j 71 -Injunctive r e l i e f - reinstatement of slay
    31 -Approval of sale of properly of estate and of a co-owner- §363(h)
                                                                                             72-lnjunctive relief - other
FRBP 7001(4) - Objection/Revocation of Discharge
                                                                                     FRBP 7001(8) Subordination of Claim or Interest
   1 41-Objection / revocation of discharge - !;727(e).(d),(e)                               81-Subordination of claim or interest
FRBP 7001(5) - Revocation of Confirmation                                            FRBP 7001(9) Declaratory Judgment
     5 1 -Revocation of confirmation
                                                                                     | | 91 -Declaratory judgment
FRBP 7001(6) - Dischargeabilily                                                      FRBP 7001(10) Determination of Removed Action

~~| 66-Dischargeahility - §523(a)(l ),(14),(14A) priority tax claims                         01 -Determination of removed claim or cause
                                                                                     Other
      62-Dischargeability - §523(a)(2), false pretenses, false representation,
D               actual fraud
~~~~| 67-Dischargeabihty - <j523(a)(4), fraud as fiduciary, embezzlement, larceny
                                                                                     [~] SS-SIPA Case - 1 5 U.S.C. §§78aaa et.seq.
                                                                                     Ijf 1 02-Other (e.g. other actions that would have been brought in slate court if
    '                   (continued next column)                                            unrelated to bankruptcy case)
| | Check if this case involves a substantive issue of state law                      | | Check if this is asserted to be a class action under FRCP 23

   1 Check if a jury trial is demanded in complaint                                  Demand $           0

Other Relief Sought
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                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                    BANKRUPTCY CASH NO.
   Karen Foster                                                                      12-60619

DISTRICT IN WHICH CASE IS PENDING                   DIVISIONAL OFFICE                  NAME OF JUDGE
 Western                                              Lynchburg                         Judge Anderson
                                    RELATED ADVERSARY PROCEEDING (IF ANY)

 'LAINTIFF                            DEFENDANT                             ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING               DIVISIONAL OFFICE                 NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                  PRINTJ^AME OF ATTORNEY              PLAINTIFF)
                                           GARY M. BOWMAN

                                                                                                                 Print Form
                                                      INSTRUCTIONS


         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor's discharge. If such a lawsuit is tiled in a bankruptcy court, it is called an adversary
proceeding.

          A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF captures
the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented
by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the
defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. I f t h e plaintiff is pro se, that is, not represented by
an attorney, the plaintiff must sign.
